Case 2:03-cr-20169-.]DB Document 537 Filed 05/26/05 Page 1 of 3 Page|D 600

IN THE UNITED STATES DISTRlCT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION
*
UNITED STATES OF AMERICA,
>l<
Plaintiff,
*
vs. No. 03-20169-}3
=|=
REGINALD PULLEN,
*
Defendant.

ORDER GRANTING GOVERNMEN'I"S MOTION
TO CON'I`INUE SENTENCING

It is hereby ORDERED that the Government's motion to continue the Sentencing of
defendant, Reginald Pullen, currently set for June 2, 2005, is hereby GRANTED, and the

Sentencing is hereby reset to\August 10, 2005, at 1:30 p.m.

DONE at Memphis, Tennessee, this 1ij day oi{hr, 2005.

/

@ED STATES DISTRICT IUDGE

 

APPROVEDZ
”i`homas A. Colthurst
Assistant U.S. Attorney

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UNITED `sETATSDISTRIC COURT - WESERNT D'S'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 537 in
case 2:03-CR-20169 Was distributed by faX, mail, or direct printing on
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Honorable .1. Breen
US DISTRICT COURT

